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                                In re Dynamic Offshore Resources NS, LLC 1
                                           Case No. 20-33947

              Notes to Post-Confirmation Report for the Quarter Ended December 31, 2022


Part 2

The Plan Administrator has not made any payments on account of pre-confirmation professional
fees and expenses.

Part 3

“Total Anticipated Payments Under Plan” are currently unknown at this time and are subject to change
based on, among other things, operating expenses of the Plan Administrator and/or the estates.

The claims reconciliation process is ongoing and reporting with respect to “Allowed Claims” is
premature at this time. Accordingly, all of the amounts listed with respect to “Allowed Claims” of all
priority levels reflect the estimates set forth in the Disclosure Statement and any and all amounts are
subject to change as the reconciliation process evolves. Therefore, the “% Paid of Allowed Claims”
may be inaccurate as a result.




 1 The Post-Effective Date Debtors, along with the last four digits of each Post-Effective Date Debtor’s federal tax
identification number, as applicable, are: Fieldwood Energy III LLC (6778); Fieldwood Energy Offshore LLC (4494),
Fieldwood Energy Inc. (4991), GOM Shelf LLC (8107), and FW GOM Pipeline, Inc. (8440). The Debtors in the other
nine pending chapter 11 cases (which continue to be jointly administered with the cases of the Post-Effective Date
Debtors), each of which have either been dissolved or merged into other entities as of the Effective Date, consist of
the following: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Onshore LLC (3489); Fieldwood SD Offshore
LLC (8786); Fieldwood Offshore LLC (2930); Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266);
Fieldwood Energy SP LLC (1971); Galveston Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). While
the cases of the Debtors remain open for administrative purposes, as provided by the confirmed plan, all payments
and distributions have been made from accounts in the name of Fieldwood Energy III LLC or Fieldwood Energy Inc.
